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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                       Plaintiff,             )
                                              )
        v.                                    )      Cause No. 1:11-cr-0164-TWP-DML
                                              )
 ERIC LAMONT JONES,                           )                             - 01
                                              )
                       Defendant.             )



                            REPORT AND RECOMMENDATION

        On June 14, 2018, the Court held a hearing on the Petition for Warrant or Summons for

 Offender Under Supervision filed on May 8, 2018 and the Supplemental Petition for Warrant or

 Summons for Offender Under Supervision filed on May 9, 2018. Defendant Jones appeared in

 person with his appointed counsel William Dazey. The government appeared by Michelle

 Brady, Assistant United States Attorney. U. S. Parole and Probation appeared by Officer Chris

 Dougherty.

        The Court conducted the following procedures in accordance with Fed. R. Crim. P.

 32.1(a)(1) and 18 U.S.C. § 3583:

        1.      The Court advised Defendant Jones of his rights and ensured he had a copy of the

 Petition and the Supplemental Petition. Defendant Jones waived his right to reading of the

 Petition and the Supplemental Petition and orally waived his right to a preliminary hearing.

        2.      After being placed under oath, Defendant Jones admitted violation nos. 1, 2, and 3

 as set forth in the Petition and the Supplemental Petition. [Docket Nos. 106 and 107.]
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        3.       The allegations to which Defendant admitted, as fully set forth in the Petition and

 the Supplemental Petition, are:


        Violation
        Number          Nature of Noncompliance


             1          “The defendant shall not unlawfully possess a controlled substance.
                        The defendant shall refrain from any unlawful use of a controlled
                        substance.”

                        Eric Jones submitted three urine drug screens which tested positive for
                        synthetic marijuana ("spice") on: March 21, 2018; April 1, 2018; and
                        April 9, 2018. On March 20, 2018, the offender and two other residents of
                        Volunteers of America were suspected of being under the influence of
                        synthetic marijuana due to their erratic behavior and physical condition
                        and all were transported to the hospital due to the concern of their medical
                        condition. The offender verbally admitted he smoked synthetic marijuana
                        to produce each positive screen.

             2          “The defendant shall reside in a residential reentry center for a term of
                        up to 180 days. You shall abide by the rules and regulations of the
                        facility.”

                        Eric Jones arrived at Volunteers of America on February 27, 2018, and has
                        incurred 14 incident reports which detail various violations of facility
                        rules. The most troubling violations are his possession and use of synthetic
                        marijuana while in the facility.

                        The most recent violation was for being AWOL from the facility and
                        occurred on May 6, 2018. Eric Jones walked out of VOA at approximately
                        6:00 p.m., without a pass or permission. He returned to the facility on May
                        7, 2018, at approximately 1:25 a.m. Mr. Jones smelled of alcohol, tested
                        positive on a breathalyzer test, and admitted he had been drinking alcohol
                        in the "last several hours."

                        The offender has incurred other violations for: smoking cigarettes; being
                        late and out of place on passes; possessing a lighter; passing money; and
                        disruptive conduct.




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             3          “You shall reside in a residential reentry center for a term of up to 180
                        days. You shall abide by the rules and regulations of the facility.”

                        The offender was allowed to leave Volunteers of America (VOA) on May
                        7, 2018, at approximately 3:10 p.m. to seek medical treatment at Eskenazi
                        Hospital for prior injuries he received when AWOL on May 6, 2018. Staff
                        at VOA called Eskenazi Hospital at 10:09 p.m., and was told he was
                        released from the emergency room sometime after 8:13 p.m. All of Mr.
                        Jones' emergency contacts were called to no avail. There has been no
                        contact with the offender since May 7, 2018, and his whereabouts are
                        unknown.

        4.       The Court finds that:

                 (a)    The highest grade of violation is a Grade C violation.

                 (b)    Defendant’s criminal history category is V1.

                 (c)    The range of imprisonment applicable upon revocation of supervised
                        release, therefore, is 8 to 14 months’ imprisonment.

        5.       The parties jointly recommended an upward departure of twenty-four (24) months

 of imprisonment with no supervised release to follow. Defendant requested a recommendation

 of placement at USP Marion, Illinois.

        The Magistrate Judge, having considered the factors in 18 U.S.C. § 3553(a), and as more

 fully set forth on the record, finds that the Defendant violated the conditions set forth in the

 Petition and the Supplemental Petition. The Magistrate Judge accepts and adopts as though fully

 set forth herein the multiple aggravating factors detailed by counsel for the United States on the

 record of the hearing as justification for the upward sentencing departure recommended by the

 parties, and recommends that Defendant’s supervised release be revoked, and that Defendant be

 sentenced to the custody of the Attorney General or his designee for a period of twenty-four (24)

 months with no supervised release to follow. The Defendant is to be taken into custody

 immediately pending the District Judge’s action on this Report and Recommendation. The




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 Magistrate Judge further recommends that the Court recommend Defendant’s placement at USP

 Marion, Illinois.

        The parties are hereby notified that the District Judge may reconsider any matter assigned

 to a Magistrate Judge. The parties waived the fourteen-day period to object to the Report and

 Recommendation.



        Dated: 14 JUN 2018




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